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                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 IN RE:
       CHRISTOPHER D. WYMAN
                      Debtor(s),
                                                      ADV. NO: 20-03012
 ________________________________\
 SAMUEL D. SWEET, Individually and as Trustee,
                Plaintiff, Counter Defendant
                                                      CASE NO. 12-32264
                                                      CHAPTER 7
 v.

 MICHAEL E. TINDALL, Individually and as 100% Assignee of
 Barbara Duggan

                Defendant, Counter Plaintiff.
 _________________________________\

                    AFFIDAVIT IN SUPPORT OF
                 MOTION FOR SUMMARY JUDGMENT

       ELIE BEJJANI ESQ., being first dully sworn deposes and says:
       1. I acted as attorney for MS BARBARA DUGGAN with respect to
           her lien interest in the realty commonly known as 1011 Jones Rd.,
           Howell MI from approximately January, 2018 through January,
           2020. I formally appeared in this and related matters in this Court,
           as counsel of record to MS BARBARA DUGGAN, on December
           17, 2018.
       2. At no time, from and after December 17, 2018 to and through the
           current date have I ever been authorized by MS BARBARA
           DUGGAN, orally or in writing, to contract, agree, commit,
           relinquish, transfer, convey or do any other act, action or thing




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          regarding her lien interest as secured creditor in the real property
          commonly known as 1011 Jones Rd., Howell MI.
       3. At no time, from and after December 17, 2018 to and through the
          current date have I ever, orally or in writing, contracted, agreed,
          committed, relinquished, transferred, conveyed or done any other
          act, action or thing regarding her lien interest as secured creditor in
          the real property commonly known as 1011 Jones Rd., Howell MI.
       4. On July 14, 2018, I formally notified TRUSTEE SAM SWEET,
          Select Title Agency, Christopher Wyman and Gentry Sales that the
          principal and interest ONLY due to MS. BARBARA DUGGAN
          on her lien claim was $31, 227.84. See, Exhibits B and D to
          attached Exhibit 1. This is/was consistent with 11 USC 502(a)
          which defines the amount of an outstanding claim as the amount
          due on the date of the filing of the Petition.
       5. On July 14, 2018, MS. DUGGAN’S right to post petition attorney
          fees, under 11 USC 506, was in active dispute and this Court had
          not yet determined that her claim was “over secured” as required
          under that section.
       6. On December 18, 2018, I put TRUSTEE SWEET on actual notice
          that MS BARBARA DUGGAN’s secured claim included post-
          petition attorney fees IN ADDITION TO the [then] amount due for
          principal and interest of $31,728.79. See Exhibit1
       7. On March 13, 2019, this Court ordered all liens, including MS.
          DUGGAN’S Judgment Lien for principal, interest and post-
          petition attorney fees transferred to the proceeds of the sale of the
          realty. Case No 12-32264, DE 212.



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        8. On May 29, 2019, Trustee Sweet sold the Jones Rd. property for
           $65,000.00. Trustee Sweet paid $32,288.91, as principal and
           interest toward allowed secured claim No.1.Trustee Sweet failed to
           pay the balance of the allowed secured from secured proceeds,
           under 11 USC 506(b), on May 29, 2019 due to his outstanding
           surcharge dispute.
        9. On May 29, 2019, TRUSTEE SWEET should have known he was
           paying principal and interest only; that the claim for post-petition
           attorney fees remained in dispute under 11 USC 506, that the Court
           had not yet determined that the property was “over secured”; and,
           that MS DUGGAN’S remaining claim for post –petition attorney
           fees remained secured by the remaining proceeds from the sale of
           the realty.
        10. On October 9, 2019, at 5:29PM, I responded to an email demand
           by TRUSTEE SWEET for privileged attorney/client information
           regarding disbursement of the proceeds of the May 29, 2019
           payment. I told SWEET that he had “satisfied the approved
           secured claim” because he had paid the amount required by 11
           USC 502(a), with interest. I told him that the “statutory lien was
           discharged” because the lien had been transferred to proceeds by
           DE 212 and the required determination under 11 USC 506 had not
           yet been made by this Court.
        11.On January 9, 2020 this Court determined the Realty was “over
           secured”, under 11 USC 506(b). Case No 12-32264, DE 316.
        12.I make this Affidavit from personal knowledge and can personally
           testify to the facts contained herein if called upon to do so.



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        FURTHER DEPONENT SAITH NOT.

 PURSUANT TO 28 USC 1746(2), I DECLARE UNDER PENALTY OF PERJURY
 THAT THE FOREGOING IS TRUE AND CORRECT THIS 1st DAY OF OCTOBER
 2020.




                                         _/S/_SIGNED ORIGINAL ON FILE_
                                         ELIE BEJJANI, ESQ.




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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION - FLINT

In re:

       CHRISTOPHER D. WYMAN,                           Case No. 12-32264
                                                       Chapter: 7
       Debtor.                                         Hon. D. S. OPPERMAN
                             /




  SECURED CREDITOR’S MOTION AND BRIEF TO CONDITION SALE
   OF REAL PROPERTY ON FULL PAYMENT OF ALLOWED SECURED
 JUDGMENT LIEN UNDER 11 USC 363(e) AND FED R. BANK. 4001(a)(1).
       Now Comes Secured Creditor, Barbara Duggan (“Duggan”), by and through her
attorney, Bejjani Law PLLC, and brings this Motion, as to Trustee Samuel D. Sweet (“Trustee
Sweet”) and his agent, Select Title Company of Brighton, MI, and hereby states the following:

   1. Duggan is the holder of an allowed secured Judgment Lien secured against the real
       property located at 1011 Jones Road, Howell, Michigan 48855, (the “Property”),
       perfected with the Livingston County Register of Deeds on May 3, 2012, recorded at
       Liber 2012R-15343, et seq. See Exhibit A.

   2. Pursuant to notice by this Court dated November 18, 2014, DE 155, Duggan duly filed her
       proof of secured claim, as ordered by this Court, on November 25, 2014, Claim No. 1. See
       Exhibit B.

   3. No objections were filed to Duggan’s Proof of Claim, and the claim was allowed bu this
       Court, under 11 USC §502(a).

   4. There is now due and owing to Duggan the sum of $31,728.79, plus costs and attorney
       fees incurred by Duggan to obtain the requested order and collect the proceeds of her
       secured lien. 11 U.S.C. § 506 (a). MCL 600.2807(3). Exhibit C.




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 5. On June 7, 2018, Trustee Sweet filed his Motion to Sell the subject property subject to
    existing liens, under 11 USC 363(b), and to settle various Adversary Proceedings asserting
    various statutory and common law damage claims for fraud. DE 176. Duggan’s allowed
    secured lien was not addressed in or by the motion, was not the subject of any of the
    various adversary proceedings, and, exists independently from those adversary
    proceedings.

 6. On July 5, 2018, this Court entered its Order GRANTING Trustee Sweet’s motion and
    authorized him to sell the subject real property. DE 123. That order was a final appealable
    order.

 7. No reconsideration or appeal of this Court’s Order was taken, and, that Order is now res
    judicata as to the Trustee.

 8. Pursuant to MCL 600.2819, Duggan’s allowed secured lien against the subject real
    property remains valid and must be paid in full from first proceeds of the anticipated sale.
    MCL 600.2801(a)(i); 600.2801(c); 600.2819.

 9. Trustee Sweet has retained Select Title Company of Brighton MI as his agent for
    issuance of title and the closing of this sale.

 10. Duggan has placed Trustee Sweet and Select Title Company on actual notice of the
    existence of the secured claim and the amount due at closing to discharge the lien.
    Exhibit D.

 11. Trustee Sweet has now filed DE 182 to “amend” the previously resolved motion so as to
    sell the subject real property “free and clear” of Duggan’s approved secured lien,
    without payment to Duggan from first proceeds of the sale.

 12. In accordance with 11 U.S.C §502(a), such relief not permitted as Trustee Sweet did not
    request, and this Court did not and could not authorize the sale “free and clear” of a lien
    allowed by this very court in 2014 before the motion or the order were filed.




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   13. Concurrence with this motion has been sought from Trustee Sweet on multiple occasions
       since July 11, 2018 in compliance with E.D. Mich. LBR 9014-1(h) but has been denied.

   Wherefore, Duggan respectfully requests this Honorable Court issue its Order
conditioning the sale of the subject property and directing Trustee Sweet and his agent, Select
Title Company of Brighton MI, to pay the full amount of Duggan’s approved secured lien
together with Duggan’s costs and attorney fees incurred in bringing this motion to Duggan’s
counsel, as directed in Exhibit C.



                                                     Respectfully Submitted,


                                                     BEJJANI LAW PLLC
                                                     /s/ Elie Bejjani
                                                      Elie Bejjani (P74626)
                                                      Attorney for Secured Creditor
                                                      6 Parklane Blvd, Suite 600
                                                      Dearborn, MI 48126
                                                      (313) 757-0036
DATED: December 18, 2018                              elie@bejjanilaw.com




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           Barbara Duggan v. Chris Wyman d/b/a CD Wyman
                       Case No. 09-4485-GC

    Date              Description         Interest Period        Days Int Rate Int Amount     Balance

11/25/2014    Perfected Lien Balance                                                         $28,398.53
                                        11/25/2014-12/31/2014      36   2.622%     $73.44    $28,471.97
                                       01/01/2015-06/30/2015      181   2.678%    $378.11    $28,850.08
                                         07/01/2015-12-31-2015    184   2.468%    $358.94    $29,209.01
                                       01/01/2016-06/30/2016      182   2.571%    $374.45    $29,583.47
                                        07/01/2016-12-31-2016     184   2.337%    $348.52    $29,931.99
                                       01/01/2017-06/30/2017      181   2.426%    $360.09    $30,292.08
                                         07/01/2017-12-31-2017    184   2.902%    $443.15    $30,735.23
                                       01/01/2018-06/30/2018      181   2.984%    $454.80    $31,190.03
12/17/2018                             07/01/2018-07/12/2018      171   3.687%    $538.76    $31,728.79


              Total                                                              $3,330.26   $31,728.79




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                                                                                Exhibit D

Bejjani Law PLLC                                                                     (313) 757.0036
       ELIE BEJJANI, Attorney at Law                                      6 Parklane Blvd, Suite 600
                                                                                Dearborn, MI 48126
                                                                                  Fax (313) 447.2430
                                                                                 elie@bejjanilaw.com

                                                                         July 11, 2018

Samuel D Sweet
Samuel D Sweet PLC
PO Box 757
Ortonville, MI 48462


Re:    Sale of 1011 E Jones Road, Howell, Michigan 48855-9298




                                                         D
Dear Mr. Sweet,




                                              t
Please be advised that Barbara Duggan (“Duggan”) has retained our firm to pursue the
collection of a secured judgment lien against Debtor Christopher D. Wyman (“Wyman”)
                                 bi
through the sale of 1011 Jones Road, Howell, Michigan 48855, Tax Id No. 470224300007 (the
“Property”).
Duggan holds a secured interest in the Property by virtue of a Judgment entered in the 53rd
                    hi

District Court, Case No. 09-4485-GC, Barbara Duggan v. Chris Wyman d/b/a CD Wyman,
entered on April 24, 2012, nunc pro tunc to January 5, 2010, which is attached as Exhibit 1. The
Judgment, along with the Notice of Claim of Interest, was recorded with the Livingston County
Register of Deeds on May 3, 2012, which is attached as Exhibit 2. Lastly, the Judgment was
      Ex


timely filed and remains valid, as a Proof of Claim in Wyman’s pending Chapter 7 Bankruptcy
proceeding, Case No. 12-32264. Exhibit 3, Proof of Claim.
Duggan’s lien holds priority over any other claims of interest on the Property, pursuant to 11
U.S.C. § 507 (a), and is entitled to first proceeds from the undergoing sale. The lien is also
perfected and secured by the Property. The current balance of the Judgment is $31,227.84,
which includes statutory interest to date. See Exhibit 4, Judgment Balance Computation.
You are hereby notified of our client’s outstanding interest in the Property and demand payment
of $31,227.84 from the proceeds of the sale at closing. We request that you provide the date,
time, and location of the closing, in which we will attend. We anticipate a check be issued at
closing, made out to Bejjani Law PLLC Lawyers’ Trust Account, in the amount of $31,227.84 to
fully satisfy Wyman’s debt owed to Duggan. We anticipate full cooperation from all parties
regarding this matter. If to the contrary, then all parties will suffer great consequences.




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Our client has endured several years of litigation regarding this dispute and will continue until all
debts are paid in full without compromise. Our firm will promptly file and record a Satisfaction of
Judgment upon receipt of the entire payment.
Thank you for your anticipated cooperation in this regard. Please contact our office with any
concerns regarding this matter.



Sincerely,




                                                           D
______________________
Elie Bejjani, Esq.
BEJJANI LAW PLLC

Enclosures (4)

cc:     Select Title Agency
        Christopher D. Wyman                   t
                                  bi
        Gentry Sales Inc.
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Sale of 1011 E Jones Road, Howell, Michigan 48855-9298
1 message

Elie Bejjani, Esq. <elie@bejjanilaw.com>                                                  Wed, Jul 11, 2018 at 8:14 PM
To: trusteesweet@hotmail.com, ssweet@trusteesweet.us, jwill@trusteesweet.us, ss125@trustesolutions.net

 Mr. Sweet,

 Please see the attached correspondence.

 Thank you.

 Sincerely,


 Elie Bejjani




                                                                                            D
 Attorney Elie Bejjani
 Bejjani Law PLLC
 6 Parklane Blvd., Suite 600
 Dearborn, Michigan 48126
 Telephone: (313) 757-0036
                                                                            t
                                                          bi
 Fax: (313) 447-2430
 Email: elie@bejjanilaw.com
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Sale of 1011 E Jones Road, Howell, Michigan 48855-9298
1 message

Elie Bejjani, Esq. <elie@bejjanilaw.com>                                                                                    Wed, Jul 11, 2018 at 8:14 PM
To: Close@selecttitleagency.com

 Please see the attached correspondence.

 Thank you.




 Sincerely,




                                                                                            D
 Elie Bejjani


 Attorney Elie Bejjani
 Bejjani Law PLLC
 6 Parklane Blvd., Suite 600
 Dearborn, Michigan 48126
 Telephone: (313) 757-0036                                                  t
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 Fax: (313) 447-2430
 Email: elie@bejjanilaw.com
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 compromise or settle a disputed fact or claim. Therefore, this communication is protected pursuant to MRE 408 and FRE 408.


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Date: July 17, 2018

Elie Bejjani:

The following is in response to your July 17, 2018 request for delivery information on your Certified
Mail™ item number 70163010000065423248. The delivery record shows that this item was delivered on
July 16, 2018 at 12:27 pm in 6870 GRAND RIVER RD BRIGHTON, MI 48114. The scanned image of the
recipient information is provided below.




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Signature of Recipient :




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Address of Recipient :
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Thank you for selecting the Postal Service for your mailing needs.
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If you require additional assistance, please contact your local Post Office or postal representative.

Sincerely,
United States Postal Service




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On Time

Expected Delivery on




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July 14, 2018 at 8:41 am
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ORTONVILLE, MI 48462

Get Updates   
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      Confirmation
   You requested this information prior to the delivery of your item. When your Proof of Delivery record is
   complete, it will be provided.

   Your confirmation will be sent to the following:

   elie@bejjanilaw.com


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Available for Pickup
ORTONVILLE, MI 48462
Your item arrived at the ORTONVILLE, MI 48462 post office at 8:41 am on July 14, 2018 and is ready for
pickup.



July 14, 2018, 8:16 am
Arrived at Unit
ORTONVILLE, MI 48462



July 13, 2018, 10:39 am
Departed USPS Regional Facility
PONTIAC MI DISTRIBUTION CENTER




                                                             D
July 12, 2018, 11:50 pm
Arrived at USPS Regional Facility
PONTIAC MI DISTRIBUTION CENTER

                                                 t
                                    bi
July 12, 2018, 4:01 pm
USPS in possession of item
DEARBORN HEIGHTS, MI 48127
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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 IN RE:
       CHRISTOPHER D. WYMAN
                      Debtor(s),
                                                      ADV. NO: 20-03012
 ________________________________\
 SAMUEL D. SWEET, Individually and as Trustee,
                Plaintiff, Counter Defendant
                                                      CASE NO. 12-32264
                                                      CHAPTER 7
 v.

 MICHAEL E. TINDALL, Individually and as 100% Assignee of
 Barbara Duggan

                Defendant, Counter Plaintiff.
 _________________________________\

                    AFFIDAVIT IN SUPPORT OF
                 MOTION FOR SUMMARY JUDGMENT

        MICHAEL E. TINDALL, (hereinafter “Claimant”), Assignee of all
 [100%] claims of BARBARA DUGGAN ($32,240.34), and a party in
 interest holding a secured attorney lien ($34,100.00/$21,869.33) against the
 proceeds of the Realty (hereinafter collectively “allowed secured claim”),
 being first dully sworn deposes and says:
        1. I acted as attorney for MS BARBARA DUGGAN from
           approximately March 2012 through October 13, 2017.
        2. On or about December 18, 2018, I appeared in this and related
           adversary matters, pro per, as an interested party on my own
           behalf.
        3. I am now the Assignee/holder of 100% of all claims of MS.
           BARBARA DUGGAN in this and related matters.



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        4. At no time, from and after March 2012 to and through the current
           date have I ever been authorized by MS BARBARA DUGGAN,
           orally or in writing, to contract, agree, commit, relinquish, transfer,
           convey or do any other act, action or thing regarding her lien
           interest as secured creditor in the real property commonly known
           as 1011 Jones Rd., Howell MI.
        5. At no time, from and after March 2012 to and through the current
           date have I ever, orally or in writing, contracted, agreed,
           committed, relinquished, transferred, conveyed or done any other
           act, action or thing regarding her lien interest as secured creditor in
           the real property commonly known as 1011 Jones Rd., Howell MI.
        6. On December 18, 2018, Trustee Sweet was put on actual notice of
           each of the following through the filing of DE 185 in Case No. 12-
           32264, See Exhibit 1 and Exhibit 3:
               1. That a prior offer had been made for 1011 Jones Rd
                  substantially greater than the amount he proposed to sell the
                  property for. Ex. 1,No. 1B; Ex.3, P10,Nos. 14,17.
               2. That the personal property he proposed to give to Diana
                  Gentry, for no additional consideration under the Real Estate
                  Agreement, had a value of at least $50,000.00. Ex. 1,No. 1B
               3. That the amount of Ms. Duggan’s allowed secured claim for
                  Judgment principal and interest did not include her post-
                  petition attorney fees. Nos. 5D and 5E(iv); Exhibit 3, Nos. 4,
                  8, 10.
        7. On December 19, 2018, through the filing of DE 190 in Case No.
           12-32264, See Exhibit 2, Trustee Sweet was put on actual notice
           that the amount of Ms. Duggan’s allowed secured claim for

                                                                                  2
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           Judgment principal and interest did not include her post-petition
           attorney fees. Nos. 4, 10.
        8. In May, 2019, Trustee Sweets request for payoff and the
           subsequent response to that request was limited to Judgment
           principal and interest and specifically did not include Ms.
           Duggan’s post-petition attorney fees, as her right to post-petition
           attorney fees, under 11 USC 506, was subject to active dispute by
           Trustee Sweet in this Court; and, this Court had not yet determined
           that her allowed secured claim was “over secured” under Section
           506.
        9. In May, 2019, Trustee Sweet could not, and, did not reasonably
           rely on the payoff amount given to him as including Ms. Duggan’s
           claim for post-petition attorney fees. Case No. 12-32264, DE 190,
           Exhibit2, No. 4 and Exhibit 6C; Exhibit 3, Nos. 4,8,10.
        10.I make this Affidavit from personal knowledge and can personally
           testify to the facts contained herein if called upon to do so.
        FURTHER DEPONENT SAITH NOT.


 PURSUANT TO 28 USC 1746(2), I DECLARE UNDER PENALTY OF
 PERJURY THAT THE FOREGOING IS TRUE AND CORRECT
 THIS 12th DAY OF OCTOBER 2020.



                                  _/S/_SIGNED ORIGINAL ON FILE_
                                        MICHAEL E. TINDALL




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 IN RE CHRISTOPHER D. WYMAN                           CASE NO: 12-32264

                    Debtor(s)


                                                      ADV. NO. 20-03012




 EXHIBIT NO:                                                1




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 IN RE CHRISTOPHER D. WYMAN                           CASE NO: 12-32264

                    Debtor(s)


                                                      ADV. NO. 20-03012




 EXHIBIT NO:                                                2




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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - FLINT

In re:

       CHRISTOPHER D. WYMAN,                           Case No. 12-32264
                                                       Chapter: 7
       Debtor.                                         Hon. D. S. OPPERMAN
                             /




  SECURED CREDITOR’S MOTION AND BRIEF TO CONDITION SALE
   OF REAL PROPERTY ON FULL PAYMENT OF ALLOWED SECURED
 JUDGMENT LIEN UNDER 11 USC 363(e) AND FED R. BANK. 4001(a)(1).
       Now Comes Secured Creditor, Barbara Duggan (“Duggan”), by and through her
attorney, Bejjani Law PLLC, and brings this Motion, as to Trustee Samuel D. Sweet (“Trustee
Sweet”) and his agent, Select Title Company of Brighton, MI, and hereby states the following:

   1. Duggan is the holder of an allowed secured Judgment Lien secured against the real
       property located at 1011 Jones Road, Howell, Michigan 48855, (the “Property”),
       perfected with the Livingston County Register of Deeds on May 3, 2012, recorded at
       Liber 2012R-15343, et seq. See Exhibit 6A.

   2. Pursuant to notice by this Court dated November 18, 2014, DE 155, Duggan duly filed her
       proof of secured claim, as ordered by this Court, on November 25, 2014, Claim No. 1. See
       Exhibit 6B.

   3. No objections were filed to Duggan’s Proof of Claim, and the claim was allowed by this
       Court, under 11 USC §502(a).

   4. There is now due and owing to Duggan the sum of $31,728.79, plus costs and attorney
       fees incurred by Duggan to obtain the requested order and collect the proceeds of her
       secured lien. 11 U.S.C. § 506 (a). MCL 600.2807(3). Exhibit 6C.




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  5. On June 7, 2018, Trustee Sweet filed his Motion to Sell the subject property subject to
     existing liens, under 11 USC 363(b), and to settle various Adversary Proceedings asserting
     various statutory and common law damage claims for fraud. DE 176. Duggan’s allowed
     secured lien was not addressed in or by the motion, was not the subject of any of the
     various adversary proceedings, and, exists independently from those adversary
     proceedings.

  6. On July 5, 2018, this Court entered its Order GRANTING Trustee Sweet’s motion and
     authorized him to sell the subject real property. DE 123. That order was a final appealable
     order.

  7. No reconsideration or appeal of this Court’s Order was taken, and, that Order is now res
     judicata as to the Trustee.

  8. Pursuant to MCL 600.2819, Duggan’s allowed secured lien against the subject real
     property remains valid and must be paid in full from first proceeds of the anticipated sale.
     MCL 600.2801(a)(i); 600.2801(c); 600.2819. In Re Knight, No. 16-584 (Bank, D. SC.
     November 6, 2017), See Exhibit 6E.

  9. Trustee Sweet has retained Select Title Company of Brighton MI as his agent for
     issuance of title and the closing of this sale.

  10. Duggan has placed Trustee Sweet and Select Title Company on actual notice of the
     existence of the secured claim and the amount due at closing to discharge the lien.
     Exhibit 6D.

  11. Trustee Sweet has now filed DE 182 to “amend” the previously resolved motion so as to
     sell the subject real property “free and clear” of Duggan’s approved secured lien,
     without payment to Duggan from first proceeds of the sale.

  12. In accordance with 11 U.S.C §502(a), such relief not permitted as Trustee Sweet did not
     request, and this Court did not and could not authorize the sale “free and clear” of a lien
     allowed by this very court in 2014 before the motion or the order were filed.



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   13. Concurrence with this motion has been sought from Trustee Sweet on multiple occasions
       since July 11, 2018 in compliance with E.D. Mich. LBR 9014-1(h) but has been denied.

   Wherefore, Duggan respectfully requests this Honorable Court issue its Order
conditioning the sale of the subject property and directing Trustee Sweet and his agent, Select
Title Company of Brighton MI, to pay the full amount of Duggan’s approved secured lien
together with Duggan’s costs and attorney fees incurred in bringing this motion to Duggan’s
counsel, as directed in Exhibit 6C.



                                                     Respectfully Submitted,


                                                     BEJJANI LAW PLLC
                                                     /s/ Elie Bejjani
                                                      Elie Bejjani (P74626)
                                                      Attorney for Secured Creditor
                                                      6 Parklane Blvd, Suite 600
                                                      Dearborn, MI 48126
                                                      (313) 757-0036
DATED: December 19, 2018                              elie@bejjanilaw.com




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                                                                                      Exhibit 6C

           Barbara Duggan v. Chris Wyman d/b/a CD Wyman
                       Case No. 09-4485-GC

    Date              Description         Interest Period        Days Int Rate Int Amount     Balance

11/25/2014    Perfected Lien Balance                                                         $28,398.53
                                        11/25/2014-12/31/2014      36   2.622%     $73.44    $28,471.97
                                       01/01/2015-06/30/2015      181   2.678%    $378.11    $28,850.08
                                         07/01/2015-12-31-2015    184   2.468%    $358.94    $29,209.01
                                       01/01/2016-06/30/2016      182   2.571%    $374.45    $29,583.47
                                        07/01/2016-12-31-2016     184   2.337%    $348.52    $29,931.99
                                       01/01/2017-06/30/2017      181   2.426%    $360.09    $30,292.08




                                                     6C
                                         07/01/2017-12-31-2017    184   2.902%    $443.15    $30,735.23
                                       01/01/2018-06/30/2018      181   2.984%    $454.80    $31,190.03
12/17/2018                             07/01/2018-07/12/2018      171   3.687%    $538.76    $31,728.79


              Total                        t                                     $3,330.26   $31,728.79
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 IN RE CHRISTOPHER D. WYMAN                           CASE NO: 12-32264

                    Debtor(s)


                                                      ADV. NO. 20-03012




 EXHIBIT NO:                                                3




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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION - FLINT

In re:

       CHRISTOPHER D. WYMAN,                           Case No. 12-32264
                                                       Chapter: 7
       Debtor.                                         Hon. D. S. OPPERMAN
                             /




  SECURED CREDITOR’S MOTION AND BRIEF TO CONDITION SALE
   OF REAL PROPERTY ON FULL PAYMENT OF ALLOWED SECURED
 JUDGMENT LIEN UNDER 11 USC 363(e) AND FED R. BANK. 4001(a)(1).
       Now Comes Secured Creditor, Barbara Duggan (“Duggan”), by and through her
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   1. Duggan is the holder of an allowed secured Judgment Lien secured against the real
       property located at 1011 Jones Road, Howell, Michigan 48855, (the “Property”),
       perfected with the Livingston County Register of Deeds on May 3, 2012, recorded at
       Liber 2012R-15343, et seq. See Exhibit A.

   2. Pursuant to notice by this Court dated November 18, 2014, DE 155, Duggan duly filed her
       proof of secured claim, as ordered by this Court, on November 25, 2014, Claim No. 1. See
       Exhibit B.

   3. No objections were filed to Duggan’s Proof of Claim, and the claim was allowed bu this
       Court, under 11 USC §502(a).

   4. There is now due and owing to Duggan the sum of $31,728.79, plus costs and attorney
       fees incurred by Duggan to obtain the requested order and collect the proceeds of her
       secured lien. 11 U.S.C. § 506 (a). MCL 600.2807(3). Exhibit C.




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 9. Trustee Sweet has retained Select Title Company of Brighton MI as his agent for
    issuance of title and the closing of this sale.

 10. Duggan has placed Trustee Sweet and Select Title Company on actual notice of the
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    Exhibit D.

 11. Trustee Sweet has now filed DE 182 to “amend” the previously resolved motion so as to
    sell the subject real property “free and clear” of Duggan’s approved secured lien,
    without payment to Duggan from first proceeds of the sale.

 12. In accordance with 11 U.S.C §502(a), such relief not permitted as Trustee Sweet did not
    request, and this Court did not and could not authorize the sale “free and clear” of a lien
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   13. Concurrence with this motion has been sought from Trustee Sweet on multiple occasions
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   Wherefore, Duggan respectfully requests this Honorable Court issue its Order
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Title Company of Brighton MI, to pay the full amount of Duggan’s approved secured lien
together with Duggan’s costs and attorney fees incurred in bringing this motion to Duggan’s
counsel, as directed in Exhibit C.



                                                     Respectfully Submitted,


                                                     BEJJANI LAW PLLC
                                                     /s/ Elie Bejjani
                                                      Elie Bejjani (P74626)
                                                      Attorney for Secured Creditor
                                                      6 Parklane Blvd, Suite 600
                                                      Dearborn, MI 48126
                                                      (313) 757-0036
DATED: December 18, 2018                              elie@bejjanilaw.com




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           Barbara Duggan v. Chris Wyman d/b/a CD Wyman
                       Case No. 09-4485-GC

    Date              Description         Interest Period        Days Int Rate Int Amount     Balance

11/25/2014    Perfected Lien Balance                                                         $28,398.53
                                        11/25/2014-12/31/2014      36   2.622%     $73.44    $28,471.97
                                       01/01/2015-06/30/2015      181   2.678%    $378.11    $28,850.08
                                         07/01/2015-12-31-2015    184   2.468%    $358.94    $29,209.01
                                       01/01/2016-06/30/2016      182   2.571%    $374.45    $29,583.47
                                        07/01/2016-12-31-2016     184   2.337%    $348.52    $29,931.99
                                       01/01/2017-06/30/2017      181   2.426%    $360.09    $30,292.08
                                         07/01/2017-12-31-2017    184   2.902%    $443.15    $30,735.23
                                       01/01/2018-06/30/2018      181   2.984%    $454.80    $31,190.03
12/17/2018                             07/01/2018-07/12/2018      171   3.687%    $538.76    $31,728.79


              Total                                                              $3,330.26   $31,728.79




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                                                                                Exhibit D

Bejjani Law PLLC                                                                     (313) 757.0036
       ELIE BEJJANI, Attorney at Law                                      6 Parklane Blvd, Suite 600
                                                                                Dearborn, MI 48126
                                                                                  Fax (313) 447.2430
                                                                                 elie@bejjanilaw.com

                                                                         July 11, 2018

Samuel D Sweet
Samuel D Sweet PLC
PO Box 757
Ortonville, MI 48462


Re:    Sale of 1011 E Jones Road, Howell, Michigan 48855-9298




                                                         D
Dear Mr. Sweet,




                                              t
Please be advised that Barbara Duggan (“Duggan”) has retained our firm to pursue the
collection of a secured judgment lien against Debtor Christopher D. Wyman (“Wyman”)
                                 bi
through the sale of 1011 Jones Road, Howell, Michigan 48855, Tax Id No. 470224300007 (the
“Property”).
Duggan holds a secured interest in the Property by virtue of a Judgment entered in the 53rd
                    hi

District Court, Case No. 09-4485-GC, Barbara Duggan v. Chris Wyman d/b/a CD Wyman,
entered on April 24, 2012, nunc pro tunc to January 5, 2010, which is attached as Exhibit 1. The
Judgment, along with the Notice of Claim of Interest, was recorded with the Livingston County
Register of Deeds on May 3, 2012, which is attached as Exhibit 2. Lastly, the Judgment was
      Ex


timely filed and remains valid, as a Proof of Claim in Wyman’s pending Chapter 7 Bankruptcy
proceeding, Case No. 12-32264. Exhibit 3, Proof of Claim.
Duggan’s lien holds priority over any other claims of interest on the Property, pursuant to 11
U.S.C. § 507 (a), and is entitled to first proceeds from the undergoing sale. The lien is also
perfected and secured by the Property. The current balance of the Judgment is $31,227.84,
which includes statutory interest to date. See Exhibit 4, Judgment Balance Computation.
You are hereby notified of our client’s outstanding interest in the Property and demand payment
of $31,227.84 from the proceeds of the sale at closing. We request that you provide the date,
time, and location of the closing, in which we will attend. We anticipate a check be issued at
closing, made out to Bejjani Law PLLC Lawyers’ Trust Account, in the amount of $31,227.84 to
fully satisfy Wyman’s debt owed to Duggan. We anticipate full cooperation from all parties
regarding this matter. If to the contrary, then all parties will suffer great consequences.




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Our client has endured several years of litigation regarding this dispute and will continue until all
debts are paid in full without compromise. Our firm will promptly file and record a Satisfaction of
Judgment upon receipt of the entire payment.
Thank you for your anticipated cooperation in this regard. Please contact our office with any
concerns regarding this matter.



Sincerely,




                                                           D
______________________
Elie Bejjani, Esq.
BEJJANI LAW PLLC

Enclosures (4)

cc:     Select Title Agency
        Christopher D. Wyman                   t
                                  bi
        Gentry Sales Inc.
                      hi
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Sale of 1011 E Jones Road, Howell, Michigan 48855-9298
1 message

Elie Bejjani, Esq. <elie@bejjanilaw.com>                                                  Wed, Jul 11, 2018 at 8:14 PM
To: trusteesweet@hotmail.com, ssweet@trusteesweet.us, jwill@trusteesweet.us, ss125@trustesolutions.net

 Mr. Sweet,

 Please see the attached correspondence.

 Thank you.

 Sincerely,


 Elie Bejjani




                                                                                            D
 Attorney Elie Bejjani
 Bejjani Law PLLC
 6 Parklane Blvd., Suite 600
 Dearborn, Michigan 48126
 Telephone: (313) 757-0036
                                                                            t
                                                          bi
 Fax: (313) 447-2430
 Email: elie@bejjanilaw.com
                                       hi

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Sale of 1011 E Jones Road, Howell, Michigan 48855-9298
1 message

Elie Bejjani, Esq. <elie@bejjanilaw.com>                                                                                    Wed, Jul 11, 2018 at 8:14 PM
To: Close@selecttitleagency.com

 Please see the attached correspondence.

 Thank you.




 Sincerely,




                                                                                            D
 Elie Bejjani


 Attorney Elie Bejjani
 Bejjani Law PLLC
 6 Parklane Blvd., Suite 600
 Dearborn, Michigan 48126
 Telephone: (313) 757-0036                                                  t
                                                          bi
 Fax: (313) 447-2430
 Email: elie@bejjanilaw.com
                                       hi

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Date: July 17, 2018

Elie Bejjani:

The following is in response to your July 17, 2018 request for delivery information on your Certified
Mail™ item number 70163010000065423248. The delivery record shows that this item was delivered on
July 16, 2018 at 12:27 pm in 6870 GRAND RIVER RD BRIGHTON, MI 48114. The scanned image of the
recipient information is provided below.




                                                              D
Signature of Recipient :




                                                   t
                                      bi
Address of Recipient :
                           hi

Thank you for selecting the Postal Service for your mailing needs.
         Ex


If you require additional assistance, please contact your local Post Office or postal representative.

Sincerely,
United States Postal Service




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USPS Tracking
                                   ®                           FAQs      (http://faq.usps.com/?articleId=220900)




                                       Track Another Package              +


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Tracking Number: 70163010000065423231

On Time

Expected Delivery on




                                                                  D
SATURDAY

14          JULY
            2018 
                           by
                           8:00pm 
                                                      t
                                          bi
Available for Pickup
July 14, 2018 at 8:41 am
Available for Pickup
                                hi

ORTONVILLE, MI 48462

Get Updates   
           Ex


                                                                                                              
   Text & Email Updates


                                                                                                              
   Return Receipt Electronic


      Confirmation
   You requested this information prior to the delivery of your item. When your Proof of Delivery record is
   complete, it will be provided.

   Your confirmation will be sent to the following:

   elie@bejjanilaw.com


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July 14, 2018, 8:41 am
Available for Pickup
ORTONVILLE, MI 48462
Your item arrived at the ORTONVILLE, MI 48462 post office at 8:41 am on July 14, 2018 and is ready for
pickup.



July 14, 2018, 8:16 am
Arrived at Unit
ORTONVILLE, MI 48462



July 13, 2018, 10:39 am
Departed USPS Regional Facility
PONTIAC MI DISTRIBUTION CENTER




                                                             D
July 12, 2018, 11:50 pm
Arrived at USPS Regional Facility
PONTIAC MI DISTRIBUTION CENTER

                                                 t
                                    bi
July 12, 2018, 4:01 pm
USPS in possession of item
DEARBORN HEIGHTS, MI 48127
                         hi
       Ex


                                                                                                     
Product Information



                                             See Less    




                     Can’t find what you’re looking for?
               Go to our FAQs section to find answers to your tracking questions.


                         FAQs (http://faq.usps.com/?articleId=220900)


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